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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS



S.M. AND J.M. ON BEHALF                           §
OF THEMSELVES AND AS                              §
PARENT/GUARDIAN/NEXT FRIEND                       §
OF S.M., A MINOR                                  §
                                                  §
Plaintiffs,                                       § CIVIL CASE NUMBER: 6:21-CV-1305
                                                  §
V.                                                § JURY TRIAL REQUESTED ON
                                                  § CERTAIN CLAIMS
TEXAS EDUCATION AGENCY,                           §
KILLEEN INDEPENDENT                               §
SCHOOL DISTRICT                                   §
                                                  §
Defendants.                                       §


                  PLAINTIFFS’ ORIGINAL COMPLAINT AND APPEAL

        Come now S.M. and J.M., on behalf of themselves and as parents/guardians/next friends

of S.C., a minor student with disabilities (“Plaintiffs” or “Plaintiff parents” or “S.M.”) and bring

this Original Complaint and Appeal against Defendant Texas Education Agency (“Defendant

TEA”) and Killeen Independent School District (“Defendant KISD” or “Killeen”) and state as

follows:

                                    I.      INTRODUCTION

        1. S.M. is ten years old and a fifth-grade student at Charter Oak Elementary School,

having withdrawn from Killeen on or about October 21, 2020. The family is a military family;

Plaintiff J.M. retired from the military in October 2019. Killeen discriminated against Plaintiffs

because of S.M.’s disability and because of her mother’s vigorous advocacy for her and her

brother, S.C.

        2. This case is brought pursuant to the Americans with Disabilities Act as Amended, 42

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U.S.C. §§12101 et seq., Title II (“ADA”) and Section 504 of the 1974 Rehabilitation Act, 29

U.S.C. §794 (“§504”) and all related regulations. It is also an appeal after an administrative

hearing held pursuant to the Individuals with Disabilities Education Act, 20 U.S.C. §§1400 et

seq., (“IDEA”) and Texas law. At issue is a remedy for Plaintiffs for Killeen ISD’s failure to

comply with IDEA and its eventual “force out” of S.M. and her parents from the District in

response to Plaintiff parents’ advocacy for S.M. and her brother, S. C.

         3.   The Texas Education Agency (“TEA”) is the State Education Agency that receives

federal funding from the United States Department of Education and is responsible to ensure the

implementation of the IDEA in the State of Texas consistent with 20 U.S.C. §1412. TEA is

responsible to ensure that Plaintiffs have available to them both a state agency complaint process

and a special education due process hearing system that meet the requirements of 20 U.S.C.

§1415.

         4.   There is no dispute that S.M. is protected by the ADA/§504 and the IDEA. She

is eligible for special education and related services as a student with a speech and language

disorder, motor needs, ADHD (Other Health Impairment or OHI), and dyslexia, and has also

been identified by entities other than Killeen as having dyspraxia, autism and Central Auditory

Processing Disorder (CAPD). Killeen has recognized S.M. as a student with ADHD and dyslexia

consistent with the ADA and §504 as early as the 2013-2014 school year. Both Plaintiff parents

are protected in their own rights by the ADAAA. Plaintiff Stephanie Moody has self-disclosed

disabilities. Plaintiff Josh Moody, a military veteran has experienced medical disabilities as well.

Both have advocated on behalf of S.M.

                                     II.    JURISDICTION AND VENUE

         5.   This case is an original action pursuant to the ADAAA, 42 U.S.C. §12101, et seq.,



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(ADA) and Section 504, 29 U.S.C. §794 (§504) and all related regulations. Both the ADAAA and

Section 504 are federal statutes over which this Court has original jurisdiction. 28 U.S.C. §1331.

       6.   This lawsuit follows administrative exhaustion through the TEA decision known as

TEA Docket No. 033-SE-0620; S.M. n/n/f Stephanie and Josh M. v. Killeen Independent School

District issued November 15, 2021. Ex. 1 (“Decision”). The case was an open hearing pursuant to

Plaintiffs’ rights. The Decision is completely contrary to the preponderance of the evidence

submitted to the state hearing officer (SEHO). The SEHO provided S.M. no relief. Plaintiffs are

aggrieved by the SEHO’s decision, and actions/inactions of the TEA and this Court has subject-

matter jurisdiction pursuant to the IDEA as well. 20 U.S.C. §§1400 et seq; 20 U.S.C. §1415.

       7.   Venue in this Court is proper under 28 U.S.C. §1391(b).

                                    III.    THE PARTIES

       8.   S.M. and her parents, Stephanie M. and Josh M. are the Plaintiffs. S.M., is the minor

student. Stephanie M. is her natural mother and legal guardian and next friend. Josh M. is her

natural father and legal guardian and next friend. At all times material to this action, Plaintiffs’

legal residence was within Killeen. Many of the actions concerning the state complaint and due

process hearing involve the TEA which is located in Austin, Texas. The family removed S.M.

from Killeen in November of 2020 but continued to reside in the Killeen through April 2021 paying

out of district tuition to Belton ISD and providing transportation. S.M. is a qualified individual

with a disability protected by the ADAAA (Title II) and Section 504 whom the Killeen has failed

to fully recognize and properly serve under Section 504. S.M. has dyspraxia (language disorder),

ADHD, dyslexia, autism, and CAPD. Each of those disabilities impacts her major life activities,

including learning and concentrating. Reference to S.M. is used to protect the minor’s privacy

consistent with Fed. R. Civ. Proc. 5. The full identity of the Plaintiffs is known to Killeen but can



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be fully revealed to the Court at a later date, if necessary. The Plaintiffs intend to move the Court

for full permission to utilize all parties’ full names consistent with their rights pursuant to the

IDEA, notwithstanding Fed. R. Civ. Proc. 5.

       9.    Defendant Texas Education Agency (“TEA”) is the state agency responsible to

supervise and implement the IDEA in Texas. 20 U.S.C. §§1400, et seq., and specifically, 20 U.S.C.

§1412, and 20 U.S.C. §1415. TEA is responsible to ensure that the hearing system in Texas

operates consistent with the IDEA. TEA is also responsible to ensure that its state agency

complaint system operates consistent with the IDEA. Many of the actions involving the TEA

occurred in Austin, Texas, including the complaint investigation, and its hearing system which is

situated in Austin.

       10.    Killeen Independent School District is the school district Defendant. Defendant

KISD is a public school district in the State of Texas and is a local educational agency under the

IDEA. Defendant KISD receives IDEA and other federal funding and also funding from the State

of Texas, through the Texas Education Agency. Because Plaintiffs are a military family, Defendant

KISD received military “Impact Aid” for S.M. throughout her time in the district. Defendant KISD

is obligated to fully comply with the IDEA, ADAAA (Title II)/Section 504 and all related federal

regulations, Texas Education Code Chapter 29 and the Texas education commissioner’s rules.

     IV.     RELATIONSHIP OF IDEA, ADAAA/Title II and SECTION 504 CLAIMS

       11.    Killeen deprived S.M. of a free appropriate public education (“FAPE”)

pursuant to the IDEA. Killeen also engaged in discriminatory conduct contrary to the ADA and

§504. In Fry v. Napoleon, 137 S. Ct. 743 (2017), the Supreme Court explained that if a student

sought a remedy that “could be” resolved at an IDEA administrative hearing, they were required

to exhaust the claim before an IDEA hearing officer. The IDEA at 20 U.S.C. §1415(l) does not



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permit wholesale “elimination” of these claims; rather, it only requires that S.C. exhaust them

before bringing them to this Court:

                   (l) Rule of Construction. Nothing in this title shall be construed
                    to restrict or limit the rights, procedures, and remedies available
                    under the Constitution, the Americans with Disabilities Act of 1990,
                    [42 U.S.C. 12101], title V of the Rehabilitation Act of 1973
                    [29 U.S.C. 790] or other Federal laws protecting the rights of
                    children with disabilities, except that before filing of a civil action
                    under such laws seeking relief that is also available under this subchapter,
                    the procedures under subsections (f) and (g) of this section shall be
                    exhausted to the same extent as would be required had the action been
                    brought under this subchapter.

       12.   Plaintiffs exhausted as proved by the SEHO Decision. Ex. 1. In the hearing request,

Plaintiffs duly “sought” to obtain a remedy under the ADA/§504, as well as the IDEA. At Killeen’s

request, the SEHO dismissed the ADA/§504 claims for lack of jurisdiction. This effectively

eliminated the ADA/§504 claims at the administrative level. This type of dismissal without even

the opportunity for briefing is, on information and belief, is commonplace before TEA hearing

officers who, on information and belief, have been trained by the Texas Education Agency or other

training resources to dismiss all discrimination claims of any kind.

       13. The ADA was passed to provide a clear and comprehensive national mandate to

eliminate discrimination against individuals with disabilities and to provide clear and strong

enforceable standards addressing discrimination against individuals with disabilities. 42

U.S.C.§12101(b). Congress recognized in the passage of the ADA that discrimination took place

in educational settings. Disabilities in no way diminish a person’s right to fully participate in all

aspects of society, and yet individuals with disabilities continually encounter discrimination

including both outright exclusion and relegation to lesser services, programs or activities. 42

U.S.C. §12101(a)(1), (3), (5). This leaves disabled persons, as a group, severely disadvantaged

educationally and economically.

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       14. Section 504 protects qualified individuals so that they are not denied the benefits of,

or subjected to discrimination. 29 U.S.C. §749(a).

       15. Plaintiffs specifically allege that S.M. is a qualified individual with a disability

pursuant to physical and mental disabilities. S.M. was of age for school in Killeen when she was

attending there. She was entitled to receive an education that was adequate or comparable or the

same as the educational benefit as her non-disabled peers. S.M. did not receive that education from

Killeen because the district failed to recognize all her needs as a qualified individual with

disabilities and provide her a program designed to provide her a free appropriate public education

through regular or special education.

       16. The Americans with Disabilities Act as Amended and Section 504 recognize the

disabilities suffered by S.M. as qualifying disabilities. A disability under the ADA/§504 includes

an impairment that substantially limits one or more major life activity of an individual. 42 U.S.C.

12102(1)(a). Major life activities include breathing, learning, reading, concentrating and thinking.

An impairment need only substantially limit only one major life activity to be considered a

disability. An impairment that is episodic or in remission is a disability if it would substantially

limit a major life activity when active. Unlike the IDEA, the ADAA/504 do not condition

eligibility on need.

       17.    Plaintiffs allege that Killeen has acted intentionally, with deliberate indifference and

in bad faith and gross misjudgment while preserving their view that ADA/§ 504 claims do not

require an allegation of bad faith or gross misjudgment or intent. Alexander v. Choate, 469 U.S.

287, 295-297 (1985) recognized that discrimination against the handicapped was most often the

product not of invidious animus but rather of thoughtlessness and benign neglect. Mark C. Weber,

“Accidentally on Purpose: Intent in Disability Discrimination Law,” 56 B.C.L.Rev.1417 (2015).



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                                     V.     THE TEA’S INVOLVEMENT

       18.   In early July 2019, Plaintiff Stephanie Moody filed a state complaint with the TEA

alleging that Killeen had failed to provide S.M. a free appropriate public education at various times

and in multiple ways. TEA’s staff substantiated Killeen’s violation of numerous provisions of the

IDEA. Exhibit 2 is a copy of the TEA Complaint decision, issued on or about September 5, 2019.

Despite finding multiple violations of the IDEA by Killeen, the TEA ordered no remedy for

Plaintiffs. Instead, it ordered Killeen to convene a meeting to discuss if S.M. should be provided

compensatory education. Killeen held a meeting where its administrator, Randy Carder told the

group that S.M. should receive “zero” remedy. Carder then wrote to TEA and lied to them stating

that the IEP team (including the parents) had agreed that S.M. should receive no remedy for the

multiple violations found by the TEA. From September 2019 forward, TEA staff took no action to

ensure a remedy for S.M. as a result of the TEA complaint finding.

       19.   The TEA, according to the SEHO and Killeen, is responsible for the parent not being

able to access the military exception to the statute of limitations. The SEHO concluded that the

TEA failed to implement the Texas state law military exception.

       20. The TEA does not ensure a verbatim transcript of the underlying hearing contrary to

the IDEA.

               IV.     THE ALLEGATIONS OF DENIAL OF FAPE-IEP

       21. CHILD FIND. Killeen failed to fully complete its Child Find duties. It failed

to identify S.M. with autism, a serious and debilitating disability. It also failed to identify S.M.

with a Central Auditory Processing Disorder (CAPD), which impacts a child’s ability to process

and hear.

       22. IEP. Killeen failed to ensure that an IEP was always in place and was always fully



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implemented and resulted in meaningful progress. During the 2019-2020 school year, Plaintiffs

consulted with TEA in late September 2019 about what IEP was in place (given the pendency of

Killeen’s appeal on the State Complaint); TEA declined to advise the Plaintiffs about what IEP

was in place. As late as March 5, 2020 (when they inquired again of Killeen), Plaintiffs still did

not know what IEP was in place for S.M.

       23. REDUCTION OF SERVICES. After the TEA Complaint decision was issued in

early September 2019, Killeen staff reduced S.M.’s special education services.

       24. INSUFFICIENT SERVICES and LACK OF PROGRESS. Killeen provided S.M.

insufficient services for speech therapy, and occupational therapy and assistive technology.

Because Killeen would not provide sufficient speech therapy, and occupational therapy, the

Plaintiffs had to use medical insurance (and a co-pay) to obtain private services for speech and

language and for occupational therapy. At 10 years old, S.M.’s overall fine-motor skills were at

the age of a 5–6-year-old. Her language skills remain deficient as well; in part because except for

one speech therapist (who left the district), no one recognized her dyspraxia and insufficient

services were provided. The therapist who left had recommended a substantial increase in speech

therapy; administrator Randy Carder then dictated that to obtain this, the parent would have to

agree to reduced OT. The same therapist testified that she recommended an updated speech and

language evaluation in spring of 2019 for S.M. but administration refused her the ability to

conduct this.

       25. ASSISTIVE TECHNOLOGY. S.M. needed to learn to type using a computer. But

no actual AT evaluation to meet her technology needs was completed until October 21, 2019.

Killeen offered S.M. “zero” services in any IEP for assistive technology; at hearing, the AT

provider claimed she did provide services. One of those is incorrect. TEA absolved Killeen of



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any failure to comply with providing an AT evaluation or AT services in the Complaint

reasoning that as of the complaint decision dated September 5, 2019, Killeen was “working” on

it. No AT evaluation was completed until October 21, 2019.

       26. INSUFFICIENT DYSLEXIA SERVICES. One IEP referred in one section to

dyslexia services four days a week and in another to five days a week and so it was

unclear what services amount and frequency of services were being provided. Further, the

parents desired that S.M. have dyslexia services more intensively and more correctly as she was

not making progress. In the summer of 2019, apparently to resolve a complaint with the Office of

Civil Rights, Killeen provided S.M. some 1:1 dyslexia services, the result of which showed she

could progress faster with same. However, Killeen refused to continue that.

       27.   IEP PRESENT LEVELS AND GOALS. Killeen failed to ensure that whatever IEP

was being used had objective and correct present levels and goals in order to ensure they could

be measured for progress.

       28. EXTENDED SCHOOL YEAR. Killeen did not have an IEP that addressed S.M.’s

eligibility for ESY during the relevant timeframe.

       29. CESSATION OF SERVICES DUE TO COVID. Killeen did not ensure services

when COVID began; S.M. was not able to successfully use remote learning approaches.

       30. LACK OF COLLABORATION. Killeen did not ensure collaboration with Plaintiff

parents. It insisted on Mr. Carder’s presence with whom the parent had a negative relationship. It

refused to tape record a meeting that she could not attend after telling her it would tape the

meeting. It did not offer her any information about accommodations for herself or Mr. Moody

despite awareness of their own disabilities. It refused to use an ARD facilitator. It characterized

Plaintiff mother as “hostile.” It refused to collaboratively decide about compensatory education



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as ordered by the TEA. It told the parent that it could not reflect her views in deliberations at

meetings and consider her concerns. The Plaintiffs were denied the complete May 23, 2019 IEP.

No Prior Written Notice was provided for refusal of 1:1 dyslexia services. No

clarification/correction or notice was given about whether dyslexia services were 4 days a week

or 5 days a week. No Prior Written Notice was provided for refusal to permit the Speech and

Language evaluation.

                        IV. THE SEHO’S ERRORS AND OMISSIONS

          31. The SEHO’s decision is at Exhibit 1. Plaintiffs appeal all legal determinations

within the decision and all factual findings that are contrary to the extensive administrative

record.

          32. The IDEA mandates the responsibilities of a SEHO. 20 U.S.C. §1415(f)(3) to

possess the knowledge and ability to conduct a hearing and write a decision consistent with

standard legal practice based on an understanding of the IDEA. Here, the SEHO made serious

and significant errors both factually and legally. His opinion represents the will of the agency

and as such is arbitrary and inconsistent with the IDEA and even state law.

          33. The SEHO egregiously erred in refusing to permit an exception to the one-year

statute of limitations. S.M. was part of a military family and therefore entitled to the special

exception to the statute of limitations set forth in Texas Law at §29.0163. The evidence is fully

unrefuted that Plaintiff Josh Moody was active-duty military until October 2019. There is no

dispute that Defendant KISD collected federal “impact aid” for S.M. because she was part of a

military family and that. Yet the SEHO wrongly concluded that the military exception was not

available to Plaintiffs because the TEA had failed to implement the legislative action.




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       32.     The IDEA mandates that school districts comply with state agency requirements. 20

U.S.C. §1401(9). The SEHO ignored this.

       33.     The SEHO failed to correctly apply a preponderance of the evidence standard.

Although the SEHO claims this is the standard he was applying, in reality, the SEHO applied a

standard requiring the parent to prove up every fact to a “beyond a reasonable doubt” standard.

       34.     The SEHO wrongly excluded evidence, including both documentary evidence and

testimony that Killeen acted in a way to deny Plaintiff Parent meaningful participation because

she was advocating for S.M., and had successfully obtained a Complaint ruling from TEA that it

had violated various aspects of the IDEA. The SEHO protected TEA employee witnesses from

having to answer questions that were pertinent and important to the case, interjecting and

precluding testimony.

       35. The SEHO held a prehearing conference whereby he specifically excluded evidence

without even having looked at the documents offered.

       36. The SEHO made numerous erroneous evidentiary rulings.

       37. The SEHO’s decision ignores the evidence throughout and is arbitrary and

capricious, or alternatively represents a decision that is simply wrong over and over again in

rejection of the preponderance of the evidence.

       38. The SEHO also failed to issue rulings on each proposed finding of fact and

conclusion of law, as requested in writing by Plaintiffs and as required under Tex. Gov. Code

2001.141(e).

                V.      FIRST CAUSE OF ACTION – IDEA Claim- TEA

       Plaintiffs bring suit against the TEA for the following acts or omissions that violate the

IDEA, its regulations 34 C.F.R. Chapter 300 and state law that is not contrary to the IDEA:



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       1. The SEHO found that Killeen, not the child’s IEP team, decided if S.M. would

receive compensatory education. Decision, Exhibit 1 (Par. 27). TEA did not know or if it knew

TEA failed to act, to ensure that S.M.’s entire IEP team—not just administrator Carder-decided

if S.M. would receive any remedy/compensatory education as a result of the State Complaint

(Exhibit 2). A specific inquiry to TEA about this has gone unanswered. Letter to TEA (Exhibit

3).

       2. The TEA, according to Killeen’s pleadings and the findings of the SEHO is responsible

for the SEHO’s inability to allow the Texas military exception to the IDEA statute of limitations.

SEHO Order No. 17 (Exhibit 4). The reasoning was: TEA did not implement the statute and

therefore, the statute could not be in effect ensuring a military exception for a military family.

Plaintiffs plead in the alternative that either the SEHO was wrong, or TEA is responsible for the

wrong as the SEHO concluded.

       3. The TEA erred as a matter of law in allowing the violator, Killeen, to decide if any

remedy should be provided to S.M.

       4. The TEA does not ensure that parents receive a verbatim transcript. Although both

parties agreed that a verbatim transcript is required, the SEHO concluded that a verbatim

transcript is not required. SEHO Order No. 23. (Exhibit 5). The SEHO held that if a tape

recording is played during a hearing, the court reporter does not transcribe what is said. This is

contrary to the IDEA which requires a verbatim transcript. 20 U.S.C. §1415(h)(3).

               VI.     IDEA, 20 U.S.C. 1400, et seq. and regulations-KILLEEN

       1. Plaintiffs re-allege paragraphs 1-38 above and Section V, paragraphs 1-4 to the extent

           that Killeen had any hand in the facts, and incorporate them by reference in




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support of their claims pursuant to the Individuals with Disabilities Education Act (“IDEA”), 20

U.S.C. §§1400 et seq, and its related regulations at 34 C.F.R. Chapter 300. Plaintiffs also allege

violations of the Texas Educ. Code Chapter 29 and 19 Tex. Admin. Code Chapter 89 both of

which are to ensure that the IDEA is fully implemented in Texas. Plaintiffs seek reversal of the

IHO’s Decision in all respects where it is contrary to fact and law.

       2. Plaintiffs specifically demand that this Court hold Defendant KISD accountable for

its egregious failure to comply with the IDEA.

       3. Plaintiffs demand that this Court reverse the SEHO specifically on his failure to find

that S.M. was part of a military family and therefore entitled to the special exception to the

statute of limitations set forth in Texas Law at §29.0163. The evidence is unrefuted that the

Defendant KISD collected federal “impact aid” for S.M. because he was part of a military

family, and that Josh Moody was active-duty military until October 2019. Plaintiffs further

request that as to the federal impact aid the amount of aid Defendant KISD received be identified

and the KISD reported to the federal government for accepting impact aid for a student that it

now claims was not part of a military family. Further, that S.M. be afforded remedies for the

time period allowed by the special exception to the statute of limitations.

       4. Plaintiffs are and will be a prevailing party and as such also seek their attorneys’ fees

and recoverable costs for representation before the SEHO and before this Court. Plaintiffs seek

both pre-judgment and post-judgment interest on all attorneys’ fees from before the SEHO and

this Court as well as all recoverable costs.




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               VII.    SECOND CAUSE OF ACTION (504/ADA) - KILLEEN

       Plaintiffs re-allege paragraphs 1 through 38 above and Section V, paragraphs 1 through

4, above and raise a second cause of action, pursuant to the Americans with Disabilities Act as

Amended and Section 504, ADA/§504:

       1. Plaintiff Parents have suffered a pecuniary injury arising out of Defendant KISD’s

violation of the §504/ADA with respect to S.M. and have standing to pursue those claims.

Plaintiff Parents request that they be reimbursed for all costs of reimbursement for services they

purchased for S.M. to date.

       2. S.M. seeks a remedy for §504/ADA discrimination because he was treated

differently because of his disability and his parent’s advocacy on behalf of his sibling and

himself. She seeks relief for what he was not provided: designation as a qualified individual with

a disability and compensatory services and a monetary damages remedy for what she did not

receive contrary to §504 and her rights pursuant to the ADA.

       3. Plaintiff parents seek a remedy pursuant to §504/ADA because as a result of KISD’s

treatment of S.M. and his parents, they moved S.M. to Belton and eventually moved to Belton

ISD. They incurred out of district tuition costs and transportation to Belton ISD. They incurred

moving and housing costs.

       4. The SEHO did not reach any §504/ADA conclusion (for lack of jurisdiction); but

some of the factual decisions completely support remedies for S.M. included (and continue to

include) compensatory education and reimbursement for private services the parents obtained in

the absence of appropriate services from the district. Compensatory education, including tuition

reimbursement is allowed in §504 cases. See, e.g., Howard v. Friendswood Indep. Sch. Dist., 454

F. Supp. 634 (S.D. Tex. 1978) (non-IDEA eligible student provided §504 protections and



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reimbursement for unilateral placement); David H. v. Spring Branch Indep. Sch. Dist., 569 F.

Supp. 1324 (S.D. Tex. 1983) (where §504 eligible student denied benefits, payment for private

school ordered).

                                     PRAYER FOR RELIEF

       Plaintiffs respectfully request that this Court enter judgment against Defendant TEA and

Defendant KISD and grant the following relief:

       1. Order that TEA immediately take all necessary steps to ensure the military exception

will be provided to military families in Texas or alternatively find that the SEHO was wrong, and

that the military exception is available without any TEA action;

       2. Order TEA to immediately pay for and correct the transcript of the administrative

hearing to ensure it is verbatim prior to any action on the case;

       3. Order TEA to cease its practice of allowing a school district to decide if any remedy

is to be issued after a State Complaint;

       4. Reverse those parts of the IHO’s decision against Killeen that are contrary to fact or

the IDEA and state law.

       5. Order that S.M. is a qualified individual with a disability pursuant to the

ADA/§504 and entitled to all the rights and protections of those laws. Set the remedy phase of

the ADA/§504 claim for a jury trial on all available remedies, including monetary damages.

       6. Order that Plaintiffs’ parents’ separate independent parent rights were grossly

violated as a matter of law. Further, the Court should order that the Defendant denied Plaintiff

parents, especially S.M., meaningful participation in the IEP process and that their rights were

significantly infringed as a matter of law. These actions constituted significant infringement of




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Plaintiff parent’s rights and impeded, delayed or denied her rights. They also discriminated

against her contrary to the ADA/§504.

       7. Order that Killeen pay/reimburse the parents for the cost of the evaluation by Dr.

Connell that determined S.M. suffers from autism as well as the evaluation costs for CAPD

evaluation and services, including hearing aids.

       8. Order that Killeen provide S.M. compensatory education to place her in the place she

would have been but for the Defendant KISD’s gross violations of the IDEA. This may be

reimbursement as well as compensatory education.

       9. Order that Killeen identify the exact amount of “Impact Aid” it received for S.M.

while she attended Killeen and return that amount to the federal government and pay any fines or

comply with any orders accordingly.

       10. Order that Plaintiffs be awarded reimbursement for all costs associated with moving

S.M. to Belton, including out-of-district tuition and transportation costs.

       11. After a jury trial, declare Plaintiffs prevailing party in the litigation and allow

submission of Plaintiffs’ reasonable attorneys’ fees and related costs as permitted by law and

incurred in the administrative proceedings, award additional fees and costs incurred in pursuing

the current action and award Plaintiffs’ pre-judgment and post-judgment interest on any and all

awards of fees and costs; and

       12. Such other and further relief to which Plaintiffs are entitled.

Respectfully submitted this 15th day of December, 2021.

                                             /s/Sonja D. Kerr
                                             Sonja D. Kerr, Tx Bar No. 24095771
                                             Catherine Michael, Tx Bar No. 4079661
                                             Connell Michael Kerr, LLP
                                             Main Office:
                                             550 Congressional Ave, Suite 115

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                                          Carmel IN 46032
                                          Ph: 317-343-4482
                                          Austin Office:
                                          9600 Great Hills Trail, Suite 150W
                                          Austin Tx 78759
                                          Ph: 512-637-1083
                                          Fax: 512-717-5204
                                          Email: sonja@cmklawfirm.com
                                          Email: catherine@cmklawfirm.com
                                          Counsel for S.C., by and through
                                          his parents/guardians and next friends, S.M. and J.M.


                             CERTIFICATE OF SERVICE

       I certify that on December 15, 2021, a true and correct copy of Plaintiff’s Complaint and

attachments was served upon last known counsel for Defendant TEA and Defendant Killeen as

indicated below, although formal service will be made or Rule 4 agreed upon:

       Via Electronic Service

       Geneva Geneva Jones & Associates
       2245 Texas Drive, Suite 300
       Sugar Land, TX 77479
       Email: geneva@geneva-jones.com

       Via Electronic Service
       Christopher Jones
       Office of Legal Services
       Texas Education Agency
       1701 North Congress Ave.
       Austin, TX 78701
       Email: Christopher.Jones@tea.texas.gov

       Counsel for Texas Education Agency

                                            /s/Sonja D. Kerr
                                            Sonja D. Kerr




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